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                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                       MEMPHIS DIVISION

UNITED STATES OF AMERICA

-v-                                                          2:03CR20485-06-Ma

ROBERT PHILLIPS
                                    Lawrence Kern, CJA
                                    Defense Attorney
                                    5118 Park Avenue, #600
                                    Memphis, TN 38117
__________________________________________________________________

                          REDACTED JUDGMENT IN A CRIMINAL CASE
                        (For Offenses Committed On or After Nov ember 1, 1987)

The defendant pleaded guilty to Count 2 & 3 of the Indictment on August 04, 2005. Accordingly, the
court has adjudicated that the defendant is guilty of the following offense(s):


                                                                              Date Offense     Count
      Title & Section                     Nature of Offense                   Concluded       Number(s)

 18 U.S.C. § 1951          Interf erence with Commerce by Threats or         12/10/2003            2
                           Violence

 18 U.S.C. §§ 924(c)       Use and Carry of a Firearm (Discharge)            12/10/2003            3
                           During and In Relation to a Crime of
                           Violence “Specif ically Robbery Af f ecting
                           Commerce,” Aiding and Abetting


The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory Victims Restitution Act
of 1996.

Counts 1, 7, 8 & 9 are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

                                                                            Date of Imposition of Sentence:
                                                                                            March 28, 2006

                                                                             S/   Samuel H. Mays, Jr.
                                                                                SAMUEL H. MAYS, JR.
                                                                         UNITED STATES DISTRICT JUDGE

                                                                                             April 14, 2006
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                                      IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of 95 Months: 70 Months under Count 2 and
95 Months under Count 3 of the Indictment to run Concurrently with each other.

       The Court recommends to the Bureau of Prisons:
       500 Hour Intensive Drug Treatment Program.


       The defendant is remanded to the custody of the United States Marshal.




                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________to _______________________

at_____________________________________________, with a certified copy of this
judgment.


                                                _________________________________
                                                           UNITED STATES MARSHAL


                                             By:_________________________________
                                                            Deputy U.S. Marshal
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                                          SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release
for a term of 3 years under each of Counts 2 & 3 to run Concurrently with each other.

      The defendant shall report to the p robation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.


       While on supervised release, the defendant shall not commit another federal,
state or local crime and shall not possess a firearm, ammunition, or destructive device
as defined in 18 U.S.C. § 921.

       The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

                              STANDARD CONDITIONS OF SUPERVISION

1.     The def endant shall not leav e the judicial district without the permission of                    the court or
       probation of f icer;

2.     The def endant shall report to the probation of f icer as directed by the court or p r o b a t i o n of f icer
       and shall submit a truthf ul and c o mplete written report within the f irst f iv e day s of each month;

3.     The def endant shall answer truthf ul all inquiries by             the probation of f i c e r   a n d f ollow the
       instructions of the probation of f icer;

4.     The def endant shall wo r k regularly at a lawf ul occupation unless excused by the probation
       of f icer f or schooling, training, or other acceptable reasons;

5.     The def endant shall notif y t h e probation of f icer ten(10) days prior to any change in residence
       or employ ment;

6.     The def endant shall ref rain f rom the excessiv e use of alcohol an d s hall not purchase, possess,
       use, distri b u t e , or administer any narcotic or other controlled substance, or any paraphernalia
       related to such substances, except as pr e s c r i b e d b y a phy sician, and shall submit to periodic
       urinaly sis tests as directed by the probation of f icer to dete r m i n e t h e u se of any controlled
       substance;
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7.     The def e n d a n t s h all not f requent places where controlled substances are illegally sold, used,
       distributed, or administered;

8.     The def endant shall not associate with any p e r s o n s e n g a ged in criminal activ ity , and shall not
       associate with a n y person conv icted of a f elony unless granted permission to do so by the
       probation of f icer;

9.     The def endant sha l l p e r m i t a p robation of f icer to v isit him or her at any time at home or
       elsewhere and shall permit conf iscation of any contraband observ ed in pl a i n v i e w by the
       probation of f icer;

10.    The def endant shall notif y the probation of f icer wi thin 72 hours of being arrested or questioned
       by a law enf orcement of f icer;

11.    The def e n d a n t s h a l l not enter into any agreement to act as an inf ormer or a special agent of
       a law enf orcement agency without the permission of the court;

12.    As directed by the p r o b a t i o n of f icer, the def endant shall notif y third parties of risks that may be
       occasioned by the def endant’s criminal record or personal history or characteristic s , and shall
       permit the probation of f icer to make such notif ications and to conf irm the def endant’s
       compliance with such notif ication requirement.

13.    If this judgment imposes a f ine or a restitution obligation, it shall be a condition of s u p e r v i sed
       release that the def endant pay any such f ine or restitutio n i n a c cordance with the Schedule of
       Pay ments set f orth in the Criminal Monetary Penalties sheet of this judgment.


                    ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

        The defendant shall also comply with the followi n g additional conditions of supervised
release:

       1.       the defendant shall cooperate with the collection of DNA as directed by the probation
                officer;
       2.       the defendant shall participate in substance abuse treatment program with screening
                and testing as deemed appropriate by the probation officer;
       3.       the defendant shall maintain full-time lawful employment.
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                               CRIMINAL MONETARY PENALTIES

        The d e fe n dant shall pay the following total criminal monetary penalties in
accordance with the schedule of payments set forth in the Schedule of Payments. The
defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine
or restitution is paid in full before the fifteenth day after the date of judgment, pursuant to
18 U.S.C. § 3612(f). All of the payment options in the Schedule of Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).


     Total Assessment                       Total Fine                    Total Restitution
            $200.00                                                         $107,241.29

                    The Special Assessment shall be due immediately.

                                              FINE
                                        No fine imposed.

                                          RESTITUTION

      Restitution in the amount of $107,241.29 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

                                                                                 Priority Order
                                    Total Amount         Amount of               or Percentage
         Name of Payee                 of Loss      Restitution Ordered            of Payment

 Kroger                             $181,914.29          $107,241.29
 Attn: John Johnson,
 Kroger Custodian of Records
 800 RidgeLake Blv d.
 Memphis, TN 38120


      If the defendant makes a partial payment, each payee shall re ce i ve a n
approximately proportional payment unless specified otherwise in the priority order or
percentage payment column above.

       The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.
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                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall
be due as follows:

       E.      Special instructions regarding the payment of criminal monetary penalties:

       The defendant shall pay restitution in regular monthly installments of not less than
       10% of gross monthly income. Interest requirement is waived. Defendant shall notify
       the Court and the United States Attorney of any material ch a n g e i n economic
       circumstances that may affect defendant’s ability to pay restitution.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Priso n s’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwi se d i rected by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.




       Joint and Several

Defendant Name, Case Number, and Joint and Several Amount:

Remeco Pennington, Case Number 03-20485-01, $107.241.29
Kenneth Taylor, Case Number 03-20585-02, $107,241.29
Demond Robinson, Case Number 03-20485-03, $107,241.29
Martin Cox, Case Number 03-20485-04, $107,241.29
Alfonzo Johnson, Case Number 03-20485-05, $107.241.29
